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   CASE NAME:      HouTex Builders LLC
  CASE NUMBER: 18-34658




                                              COMPARATIVE BALANCE SHEETS
ASSETS                                      FILING DATE*      MONTH                 MONTH            MONTH             MONTH             MONTH            MONTH             MONTH           MONTH               MONTH             MONTH              MONTH             MONTH
                                                              September             October          November          December          January          February          March           April               May               June               July              August
CURRENT ASSETS
Cash                                                   0.00                0.00                              495.48       150,063.40         152,050.94       150,527.68        86,458.47            1,527.02          4,485.92           3,655.43          1,264.70      151,451.15
Accounts Receivable, Net                               0.00                0.00
Inventory: Lower of Cost or Market                     0.00                0.00
Prepaid Expenses                                       0.00                0.00                          23,973.65         21,835.24          19,696.83        17,558.42        15,420.01           13,281.60         11,143.19           9,004.78              0.00            0.00
Investments                                            0.00                0.00
Other                                                  0.00                0.00
TOTAL CURRENT ASSETS                                   0.00                0.00               0.00       24,469.13        171,898.64         171,747.77       168,086.10       101,878.48           14,808.62         15,629.11          12,660.21          1,264.70      151,451.15
PROPERTY, PLANT & EQUIP. @ COST                        0.00                0.00
Less Accumulated Depreciation                          0.00                0.00
NET BOOK VALUE OF PP & E                               0.00                0.00               0.00              0.00              0.00             0.00              0.00            0.00                0.00              0.00               0.00              0.00            0.00
OTHER ASSETS
 1. Tax Deposits                                    0.00          0.00
 2. Investments in Subsidiaries                     0.00          0.00
 3. Electric Deposit*                             200.00        200.00        200.00        200.00        200.00        200.00        200.00        200.00        200.00        200.00        200.00        200.00        200.00
 4. Real property*                          5,500,000.00  5,500,000.00  5,500,000.00  5,500,000.00  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72
TOTAL ASSETS                              $5,500,200.00 $5,500,200.00 $5,500,200.00 $5,524,669.13 $3,310,105.36 $3,309,954.49 $3,306,292.82 $3,240,085.20 $3,153,015.34 $3,153,835.83 $3,150,866.93 $3,139,471.42 $3,289,657.87
                                         * Per Schedules and Statement of Affairs
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        CASE NAME:     HouTex Builders LLC
        CASE NUMBER: 18-34658




                                                  COMPARATIVE BALANCE SHEETS
LIABILITIES & OWNER'S                             FILING DATE*       MONTH              MONTH            MONTH            MONTH            MONTH            MONTH            MONTH             MONTH            MONTH              MONTH               MONTH               MONTH
EQUITY                                                               September          October          November         December         January          February         March            April            May                June                July                August
LIABILITIES
POST-PETITION LIABILITIES(MOR-4)                                             1,502.17         6,914.39       49,873.37       129,934.91        172,939.88       210,857.00      209,368.46        211,472.19         257,104.42          256,381.92          271,870.96         443,211.19
PRE-PETITION LIABILITIES
 Notes Payable - Secured                            5,293,022.44        5,293,022.44      5,293,022.44     5,293,022.44     3,139,200.44     3,139,200.44     3,139,200.44     3,139,200.44     3,139,200.44       3,139,200.44       3,139,200.44        3,139,200.44        3,139,200.44
 Priority Debt
 Federal Income Tax
 FICA/Withholding
 Unsecured Debt                                        593,843.04         593,843.04        593,843.04      593,843.04       540,340.04        540,340.04       540,340.04      540,340.04        540,340.04         540,340.04         540,340.04          540,340.04          540,340.04
 Other - Option fee                                                                                                                                                                                                                         500.00              500.00              500.00
TOTAL PRE-PETITION LIABILITIES                      5,886,865.48        5,886,865.48      5,886,865.48     5,886,865.48     3,679,540.48     3,679,540.48     3,679,540.48     3,679,540.48     3,679,540.48       3,679,540.48       3,680,040.48        3,680,040.48        3,680,040.48
TOTAL LIABILITIES                                   5,886,865.48        5,888,367.65      5,893,779.87     5,936,738.85     3,809,475.39     3,852,480.36     3,890,397.48     3,888,908.94     3,891,012.67       3,936,644.90       3,936,422.40        3,951,911.44        4,123,251.67
OWNER'S EQUITY (DEFICIT)
PREFERRED STOCK
COMMON STOCK
ADDITIONAL PAID-IN CAPITAL                            -386,665.48        -386,665.48       -386,665.48     -386,665.48       -386,665.48      -386,665.48      -386,665.48     -386,665.48       -386,665.48        -386,665.48        -386,665.48         -386,665.48         -386,665.48
RETAINED EARNINGS: Filing Date
RETAINED EARNINGS: Post Filing Date                                        -1,502.17         -6,914.39      -25,404.24       -112,704.55      -155,860.39      -197,439.18     -262,158.26       -351,331.85        -446,928.32        -446,928.32         -446,928.32         -446,928.32
TOTAL OWNER'S EQUITY (NET WORTH)                      -386,665.48        -388,167.65       -393,579.87     -412,069.72       -499,370.03      -542,525.87      -584,104.66     -648,823.74       -737,997.33        -833,593.80        -833,593.80         -833,593.80         -833,593.80
TOTAL
LIABILITIES &
OWNERS EQUITY                                     $5,500,200.00       $5,500,200.00     $5,500,200.00    $5,524,669.13    $3,310,105.36    $3,309,954.49    $3,306,292.82    $3,240,085.20    $3,153,015.34     $3,103,051.10      $3,102,828.60       $3,118,317.64       $3,289,657.87
                                             * Per Schedules and Statement of Affairs
           MOR-3                                                                                                                                                                                               Revised 07/01/98   Revised 07/01/98    Revised 07/01/98    Revised 07/01/98
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 CASE NAME:      HouTex Builders LLC
 CASE NUMBER:    18-34658

                                   SCHEDULE OF POST-PETITION LIABILITIES
                                             MONTH              MONTH                MONTH             MONTH             MONTH               MONTH               MONTH              MONTH                 MONTH           MONTH           MONTH           MONTH
                                             September          October              November          December          January            February            March              April                 May             June            July            August
TRADE ACCOUNTS PAYABLE                                                      10.65
TAX PAYABLE
 Federal Payroll Taxes
State Payroll Taxes
Ad Valorem Taxes
 Other Taxes
TOTAL TAXES PAYABLE                                      0.00                 0.00              0.00              0.00               0.00                0.00               0.00                  0.00            0.00            0.00            0.00            0.00
SECURED DEBT POST-PETITION
ACCRUED INTEREST PAYABLE
ACCRUED PROFESSIONAL FEES*
OTHER ACCRUED LIABILITIES
1. Accrued interest on DIP Financing                     0.43                13.76             84.46            286.29             640.55            1,046.96           1,548.22               2,033.31    2,576.62    3,176.17    3,838.65    4,882.38
2. Dip financing                                     1,501.74             6,889.98         30,543.20        112,392.71         157,132.71          196,732.71         196,732.71             198,351.35 243,151.35 243,151.35 268,032.31 438,328.81
 3. Insurance payable                                                                      19,245.71         17,255.91          15,166.62           13,077.33          11,087.53              11,087.53   11,376.45   10,054.40        0.00        0.00
TOTAL POST-PETITION LIABILITIES (MOR-3)            $1,502.17          $6,914.39          $49,873.37       $129,934.91        $172,939.88         $210,857.00        $209,368.46            $211,472.19 $257,104.42 $256,381.92 $271,870.96 $443,211.19
  *Payment requires Court Approval
      MOR-4
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 CASE NAME:    HouTex Builders LLC
CASE NUMBER:   18-34658

                                                               AGING OF POST-PETITION LIABILITIES
                                                               MONTH                August

       DAYS            TOTAL                 TRADE                   FEDERAL               STATE            AD VALOREM,      Other
                                            ACCOUNTS                  TAXES                TAXES            OTHER TAXES
0-30                       171,340.23                                                                                           171,340.23
31-60                       25,543.44                                                                                            25,543.44
61-90                          599.55                                                                                               599.55
91+                        245,727.97                                                                                           245,727.97
TOTAL                    $443,211.19                   $0.00                   $0.00                $0.00            $0.00    $443,211.19

                                                               AGING OF ACCOUNTS RECEIVABLE



   MONTH


0-30 DAYS
31-60 DAYS
61-90 DAYS
91+ DAYS
TOTAL                           $0.00                  $0.00                   $0.00                $0.00            $0.00           $0.00

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          CASE NAME:         HouTex Builders LLC
         CASE NUMBER:        18-34658
                                                                     STATEMENT OF INCOME (LOSS)
                                                          MONTH                       MONTH                      MONTH                MONTH                MONTH                MONTH          MONTH          MONTH          MONTH            MONTH          MONTH             MONTH          FILING TO
                                                           September                  October                    November          December         January           February      March                     April          May              June           July              August        DATE
REVENUES       (MOR-1)                                                                                                                 2,575,000.00                                                                                                                                             2,575,000.00
TOTAL COST OF REVENUES                                                         0.00                                                    2,596,034.78         -2,000.00                                                                                                                           2,594,034.78
GROSS PROFIT                                                                   0.00                      0.00                 0.00       -21,034.78          2,000.00          0.00                    0.00           0.00             0.00           0.00              0.00            0.00      -19,034.78
OPERATING EXPENSES:
   Selling & Marketing                                                                                                                                                                                                                         -12,000.00                                           -12,000.00
   General & Administrative                                                                          3,132.89               253.63             2,338.19             6,710.58        7,623.90      22,126.44      25,518.45         1,275.33      2,603.10           1,415.73       1,602.78          74,601.02
   Insiders Compensation                                                                                                                                                                                                                                                                                  0.00
   Professional Fees                                                                                 2,266.00                                                                                                     2,693.75                                                                            4,959.75
   Insurance                                                            1,501.74                                          1,687.30                                  2,138.41        2,138.41       2,138.41       2,138.41         2,138.41      2,138.41       -1,049.62                            14,969.88
   Trustee fees                                                                                                             325.00                                    325.00                                      1,625.00                                         975.00                             3,250.00
TOTAL OPERATING EXPENSES                                                1,501.74                     5,398.89             2,265.93              2,338.19            9,173.99        9,762.31      24,264.85      31,975.61       3,413.74       -7,258.49        1,341.11          1,602.78          85,780.65
INCOME BEFORE INT, DEPR/TAX (MOR-1)                                    -1,501.74                    -5,398.89            -2,265.93            -23,372.97           -7,173.99       -9,762.31     -24,264.85     -31,975.61      -3,413.74        7,258.49       -1,341.11         -1,602.78        -104,815.43
INTEREST EXPENSE                                                            0.43                        13.33            16,223.92             63,927.34           35,981.85       31,816.48      40,454.23      57,197.98      41,398.00       10,004.89       25,543.44         19,551.00         342,112.89
DEPRECIATION                                                                                                                                                                                                                                                                                              0.00
OTHER (INCOME) EXPENSE*                                                                                                                                                                                                                                                                                   0.00
OTHER ITEMS**                                                                                                                                                                                                                                                                                             0.00
TOTAL INT, DEPR & OTHER ITEMS                                               0.43                        13.33             16,223.92            63,927.34            35,981.85      31,816.48      40,454.23      57,197.98      41,398.00       10,004.89       25,543.44         19,551.00         342,112.89
NET INCOME BEFORE TAXES                                                -1,502.17                    -5,412.22            -18,489.85           -87,300.31           -43,155.84     -41,578.79     -64,719.08     -89,173.59     -44,811.74       -2,746.40      -26,884.55        -21,153.78        -446,928.32
FEDERAL INCOME TAXES                                                                                                                                                                                                                                                                                      0.00
NET INCOME (LOSS) (MOR-1)                                           ($1,502.17)                    ($5,412.22)      ($18,489.85)         ($87,300.31)         ($43,155.84) ($41,578.79) ($64,719.08) ($89,173.59) ($44,811.74) ($2,746.40) ($26,884.55) ($21,153.78)                             ($446,928.32)
Accrual Accounting Required, Otherwise Footnote with Explanation.
* Footnote Mandatory.
* * Unusual and/or infrequent item(s) outside the ordinary course of business requires footnote.
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  CASE NAME:         HouTex Builders LLC
 CASE NUMBER:        18-34658

CASH RECEIPTS AND                                             MONTH                 MONTH                MONTH                  MONTH                  MONTH                 MONTH            MONTH              MONTH              MONTH          MONTH         MONTH           MONTH             FILING TO
DISBURSEMENTS                                                  September            October              November               December               January               February         March              April              May            June          July            August            DATE
 1. CASH-BEGINNING OF MONTH                                                $0.00                 $0.00                $0.00              $495.48           $150,063.40        $152,050.94      $150,527.68        $86,458.47        $1,527.02       $4,485.92     $3,655.43         $1,264.70                  $0.00
RECEIPTS:
 2. CASH SALES                                                                                                                                                                                                                                                                                                  0.00
 3. COLLECTION OF ACCOUNTS RECEIVABLE                                                                                                                                                                                                                                                                           0.00
 4. LOANS & ADVANCES (attach list)***                                   1,501.74              5,388.24            23,653.22            81,849.51                 44,740.00        39,600.00                              1,618.64    44,800.00                     24,880.96        170,296.50            438,328.81
 5. SALE OF ASSETS                                                                                                                    149,786.50                                                                                                                                                          149,786.50
 6. OTHER (attach list)****                                                                                                                                       2,000.00                                                              288.92      12,500.00                                              14,788.92
TOTAL RECEIPTS**                                                        1,501.74              5,388.24            23,653.22           231,636.01                 46,740.00        39,600.00               0.00           1,618.64    45,088.92      12,500.00      24,880.96        170,296.50            602,904.23
(Withdrawal) Contribution by Individual Debtor MFR-2*                                                                                                                                                                                                                                                           0.00
DISBURSEMENTS:
 7. NET PAYROLL                                                                                                                                                                                                                                                                                               0.00
 8. PAYROLL TAXES PAID                                                                                                                                                                                                                                                                                        0.00
 9. SALES, USE & OTHER TAXES PAID                                                                                                                                                                                          50.00                                                                             50.00
10. SECURED/RENTAL/LEASES                                                                                                                                                                                                                                                                                     0.00
11. UTILITIES & TELEPHONE                                                                     2,130.24               256.28                187.78                    77.46           410.54             180.70            323.56          724.33        798.10          531.73        1,440.78            7,061.50
12. INSURANCE                                                           1,501.74                                   6,415.24              1,989.80                 2,089.29         2,089.29           2,094.29                                        1,322.05                                           17,501.70
13. INVENTORY PURCHASES                                                                                                                                                                                                                                                                                       0.00
14. INTEREST EXPENSES                                                                                             16,153.22             79,878.51                35,627.59        31,410.07       39,952.97         56,712.89        40,854.69        9,405.34     24,880.96         18,507.27          353,383.51
15. TRAVEL & ENTERTAINMENT                                                                                                                                                                                                                                                                                    0.00
16. REPAIRS, MAINTENANCE & SUPPLIES                                                             992.00                                                            6,383.12         7,213.36       21,841.25         25,144.89             542.00      1,805.00          875.00            150.00         64,946.62
17. ADMINISTRATIVE & SELLING                                                                                             8.00                12.00                  250.00                                                                  9.00                          9.00             12.00            300.00
18. OTHER (attach list)                                                                                                                                                                                                                                                                                       0.00
TOTAL DISBURSEMENTS FROM OPERATIONS                                     1,501.74              3,122.24            22,832.74             82,068.09                44,427.46        41,123.26       64,069.21         82,231.34        42,130.02      13,330.49      26,296.69         20,110.05          443,243.33
19. PROFESSIONAL FEES                                                                         2,266.00                                                                                                               2,693.75                                                                             4,959.75
20. U.S. TRUSTEE FEES                                                                                                 325.00                                       325.00                                            1,625.00                                           975.00                            3,250.00
21. OTHER REORGANIZATION EXPENSES (attach list)                                                                                                                                                                                                                                                               0.00
TOTAL DISBURSEMENTS**                                                   1,501.74              5,388.24            23,157.74           82,068.09               44,752.46   41,123.26               64,069.21         86,550.09 42,130.02 13,330.49 27,271.69   20,110.05                                 451,453.08
22. NET CASH FLOW                                                           0.00                  0.00               495.48          149,567.92                1,987.54   -1,523.26              -64,069.21        -84,931.45  2,958.90   -830.49 -2,390.73  150,186.45                                 151,451.15
23. CASH - END OF MONTH (MOR-2)                                           $0.00                 $0.00              $495.48         $150,063.40             $152,050.94 $150,527.68              $86,458.47         $1,527.02 $4,485.92 $3,655.43 $1,264.70 $151,451.15                                $151,451.15
                                                         * Applies to Individual debtors only
             MOR-7                                       **Numbers for the current month should balance (match)
                                                        *** Advance from Charles Foster
                                                        **** January - Refund from construction vendor on home sold in prior month
                                                        **** May - Refund of prepaid insurance
                                                        **** June - 12,000 return of escrow from sale of asset prior to bankrupty and 500 option fee
                                                            RECEIPTS and CHECKS/OTHER DISBURSEMENTS lines on MOR-8
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      CASE NAME:     HouTex Builders LLC
      CASE NUMBER:   18-34658

                                                CASH ACCOUNT RECONCILIATION
                                                 MONTH OF August
BANK NAME                                  Frost Bank
ACCOUNT NUMBER                             #*****6345               #                       #
ACCOUNT TYPE                                     OPERATING                PAYROLL               TAX           OTHER FUNDS      TOTAL
BANK BALANCE                                           152,022.96                                                               $152,022.96
DEPOSITS IN TRANSIT                                                                                                                   $0.00
OUTSTANDING CHECKS                                         571.81                                                                   $571.81
ADJUSTED BANK BALANCE                                $151,451.15                    $0.00             $0.00            $0.00    $151,451.15
BEGINNING CASH - PER BOOKS                               1,264.70                                                                 $1,264.70
RECEIPTS*                                              170,296.50                                                               $170,296.50
TRANSFERS BETWEEN ACCOUNTS                                                                                                            $0.00
(WITHDRAWAL) OR CONTRIBUTION BY
INDIVIDUAL      DEBTOR MFR-2                                                                                                          $0.00
CHECKS/OTHER DISBURSEMENTS*                             20,110.05                                                                $20,110.05
ENDING CASH - PER BOOKS                              $151,451.15                    $0.00             $0.00            $0.00    $151,451.15

MOR-8                                      *Numbers should balance (match) TOTAL RECEIPTS and
                                            TOTAL DISBURSEMENTS lines on MOR-7
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CASE NAME:        HouTex Builders LLC
CASE NUMBER:      18-34658


                                    PAYMENTS TO INSIDERS AND PROFESSIONALS
Of the total disbursements shown for the month, list the amount paid to insiders (as defined in Section 101(31)(A)-(F) of the U.S. Bankruptcy Code) and the professionals.
Also, for insiders, identify the type of compensation paid (e.g., salary, commission, bonus, etc.) (Attach additional pages as necessary).
                                                 MONTH                    MONTH                   MONTH                   MONTH                   MONTH         MONTH        MONTH     MONTH          MONTH          MONTH           MONTH          MONTH
  INSIDERS: NAME/COMP TYPE                       September                October                 November                December                January February March              April           May            June           July            August

 1.
 2.
 3.
 4.
 5.
 6.
TOTAL INSIDERS (MOR-1)                                           $0.00                   $0.00                   $0.00                    $0.00       $0.00         $0.00     $0.00           $0.00         $0.00           $0.00          $0.00         $0.00

                                                 MONTH                    MONTH                   MONTH                   MONTH                   MONTH         MONTH        MONTH     MONTH          MONTH          MONTH           MONTH          MONTH
         PROFESSIONALS                           September                October                 November                December                January February March              April           May            June           July            August

 1. Schmuck, Smith, Tees & Co PC                                   0.00               2,266.00                                                                                          2,693.75              0.00           0.00            0.00            0.00
 2.
 3.
 4.
 5.
 6.
TOTAL PROFESSIONALS            (MOR-1)                           $0.00              $2,266.00                    $0.00                    $0.00       $0.00         $0.00     $0.00 $2,693.75               $0.00           $0.00          $0.00         $0.00

      MOR-9
